                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN

THE DRAGONWOOD
CONSERVANCY, INC., et al.,
                                                  Plaintiffs,            Case No. 16-CV-534
                       v.
                                                                         MINUTE SHEET
PAUL FELICIAN,
                                                  Defendant.



Hon. Nancy Joseph, presiding.                           Deputy Clerk: Amanda Chasteen
Type of Proceeding: STATUS CONFERENCE
Date: October 22, 2020 at 9:30 AM                       Court Reporter: Zoom Audio
Time Commenced: 9:30 AM                                 Time Concluded: 10:05 AM

Appearances:             Plaintiff:        Mark Murphy and Thomas Kyle
                         Defendant:        Jenny Yuan and Heather Hough

Comments:

Parties discuss current posture of case.

Plaintiffs speaks to reasons for requesting hearing. Counsel is trying to prepare for trial, and is concerned
that motions are being relitigated.
Defendants speaks to their position. Speaks to newly learned facts that brought them to file their recently
filed motions.
Court will not address motions that were already ruled on, will need time to closely review prior decisions
to see if this new motion is appropriate. The court may have specific questions for counsel and may
reconvene hearing to address specific questions.

Discussion as scheduling matters relating to upcoming jury trial. The court does like the idea of
empaneling a jury the week prior to the start of the trial. Advises counsel to pencil in December 9, 10, or 11
to begin jury selection. Will follow up with counsel once the court has consulted with Jury Administrator.
Discussion as to pretrial reports and exhibits. Parties are not required to file a joint pretrial report.




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